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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR262
                              )
          v.                  )
                              )
BRANDY K. BRENTON,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for extension of time to file a response to the answer of the

United States to her § 2255 motion (Filing No. 164).               The Court

finds said motion should be granted.          Accordingly,

           IT IS ORDERED that the motion is granted; defendant

shall have until November 25, 2008, to file a response to the

government’s answer.

           DATED this 5th day of November, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
